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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                   -   -   -   X


 UNITED STATES OF AMERICA                                                               SUPERSEDING INDICTMENT

                      - v. -                                                            Sl 20 Cr . 412     (AT)

 TIMOTHY SHEA ,

                                   Defendant .

 -    -   -   -   -   -    -   -    -    -   -   -    -   -   -    -   -   -   X


                                                COUNT ONE
                                    (Conspiracy to Commit Wire Fraud)

          The Grand Jury charges :

                      1.       From at least in or around December 2018 up to and

including in or around June 2020 , in the Southern District of New

York and elsewhere , TIMOTHY SHEA , the defendant , and others known

and       unknown ,            willfully              and         knowingly ,        did    combine ,    conspire ,

confederate , and agree together and with each other to commit wire

fraud , in violation of Title 18 , United States Code , Sect i ons 1343

and 1346 .

                      2.       It was a part and object of the conspiracy that

TIMOTHY           SHEA ,           the       defendant ,               and     others      known   and    unknown ,

willfully and knowingly , having devised and intending to devise a

scheme and artifice to defraud and for obtaining money and property

by means of false and fraudulent pretenses ,                                               representations , and

promises ,            would and did transmit and cause to be transmitted by

means of wire ,                    radio , and television communication in interstate

and       foreign          commerce ,                writings ,            signs ,   signals ,     pictures ,     and
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sounds for the purpose of executing such scheme and artifice , in

violation of Title 18 , United States Code , Section 1343 , to wit ,

contrary to representations made to donors of We Build the Wall

that all funds would be used for construction of a wall at the

southern border of the United States and that none of the money

donated would be used to compensate Brian Kolfage ,                 SHEA and his

co-conspirators      devised    a     scheme   to    defraud   those    donors    by

secretly misappropriating funds from We Build the Wall and using

them   on   personal   expe n ses ,    including     compensating      Kolfage   and

operating an energy drink company .

             3.     It further was a part and object of the consp i racy

that TIMOTHY SHEA,      the defendant ,        and others known and unknown ,

willfully and knowingly , having devised and intending to devise a

scheme and artifice to defraud , and to deprive We Build the Wall

of its intangible rights to the honest services of its president ,

Brian Kolfage , wou l d and did transmit and cause to be transmitted

by means of wire communication in interstate and foreign commerce ,

writings , signs , signals , pictures , and sounds for the purpose of

executing    such   scheme   and artifice ,         in violation of Title        18 ,

United States Code , Sec t ions 1343 and 1346 , to wit , SHEA and his

co - conspirators devised a scheme for businesses created by SHEA to

receive money from We Build the Wall in exchange for SHEA paying

a kickback to Br i an Ko l fage .

             (Title 18 , United States Code , Section 1349 . )

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                                     COUNT TWO
                      (Conspiracy to Commit Money Laundering)

        The Grand Jury further charges :

                 4.    From at least in or around December 2018 up to and

including in or around June 2020 , in the Southern District of New

York and elsewhere , TIMOTHY SHEA , the defendant , and others known

and unknown ,         intentionally and knowingly did combine ,                   conspire ,

confederate ,         and agree together and with each other to violate

Title     18 ,        United    States          Code ,   Sections      1956 (a)   (1) (B)   (i)

and 1957 (a) .

                 5.    It was a part and an object of the conspiracy that

TIMOTHY SHEA , the defendant , and others known and unknown , in an

offense involving interstate and foreign commerce ,                        knowing that

the property involved in certai n financial transactions , to wit ,

wire transfers and checks ,            represented the proceeds of some form

of unlawful act i vity , would and did conduct and attempt to conduct

such financial transactions , which in fact involved the proceeds

of specified unlawful activity , to wit , the conspiracy to commit

wire fraud alleged in Count One of this Indictment ,                       knowing that

the transactions were designed in whole and in part to conceal and

disguise the nature , the location , the source , the ownersh i p , and

the control , of the proceeds of the specified unlawful activity ,

in   violation          of     Title     18 ,        United   States    Code ,      Section

1956(a) (1) (B) (i) .


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               6.        It     was    a        further     part   and    an    object      of   the

conspiracy that TIMOTHY SHEA , the defendant , and others known and

unknown , within the United States , knowingly would and did engage

and   attempt       to        engage       in    monetary     transactions        in   criminally

derived property of a                  value        greater than $10 , 000        and that was

derived from specified unlawful activity ,                          to wit , the conspiracy

to commit wire fraud alleged in Count One of this Indictment , in

violation of Title 18 , United States Code , Section 1957(a)

             (Title 18 , United States Code , Section 1956(h) . )

                                         COUNT THREE
                                 (Falsification of Records)

      The Grand Jury further charges :

              7.     In or about October 2018 , in the Southern District

of New York and elsewhere , TIMOTHY SHEA , the defendant , knowingly

did falsify ,       or cause the falsification of ,                      a document with the

intent to impede ,             obstruct ,         and influence the investigation and

proper administration of a matter within the jurisdiction of any

department or agency of the United States , and in relation to and

in contemplation of any such matter ,                          to wit ,        SHEA created and

caused the creation of documents that were falsely backdated and

stated false reasons for payments from We Build the Wall to SHEA

and   from    SHEA        to    Brian           Kolfage ,   with   the    intent       to   impede ,

obstruct ,    or     influence             an     investigation     by    the     United     States

Attorney ' s Office for the Southern District of New York .

        (Title 18 , United States Code , Sections 1519 and 2 . )
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                                FORFEITURE ALLEGATIONS

              8.      As a result of committing the offense alleged in

Count One of this Indictment , TIMOTHY SHEA , the defendant ,                              shall

forfeit to the United States , pursuant to Title 18 , United States

Code ,    Section 981 (a) (1) (C)        and       Title    28    United      States       Code ,

Section 2461 (c) ,          any and all property ,           real and personal ,            that

constitutes or is derived from proceeds traceable to the commission

of said offense ,           including but not limited to a sum of money in

United     States      currency      representing           the     amount     of     proceeds

traceable to the commission of said offense .

              9.      As a result of committing the offense alleged in

Count Two of this Indictment , TIMOTHY SHEA , the defendant ,                              shall

forfeit to the United States , pursuant to Title 18 , United States

Code , Section 982(a) (1) , any and all property , real and personal ,

involved     in      said    offense ,   or    any       property    traceable        to    such

property ,    including but not limited to a sum of money in United

States currency representing the amount of property involved in

said offense .

              10 .    If any of the above - described forfeitable property ,

as a result of any act or omission of the defendant : (a) cannot be

located      upon     the     exercise    of       due     diligence ;       (b)     has    been

transferred or sold to , or deposited with , a third person ;                          (c) has

been placed beyond the             jurisdiction of the Court ;                 (d)   has been

substantially diminished in value ; or (e) has been commingled with

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other property which cannot be subdivided without difficulty ; it

is the intent of the United States , pursuant to Title 21 , United

States Code ,   Section   853 (p)   and Title 28 ,   United States Code ,

Section 2461(c) , to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property .

            (Title 18 , United States Code , Section 982 ;
          Title 21 , United States Code , Section 853 ; and
           Title 28 , United States Code , Section 2461 . )




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 FOREPERSON
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                                         DAMIAN WILLIAMS
                                         United States Attorney




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                UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF NEW YORK


                  UNITED STATES OF AMERICA

                                  -   V .    -


                            TIMOTHY SHEA
                                                 '
                             Defendant .


                   SUPERSEDING INDICTMENT

                       Sl 20 Cr . 412            (AT)


          18   u. s . c .   §§    1349       1956 , 1519 ,    &   2
                                         '
                                        DAMIAN WILLIAMS
                                 United States Attorney


                             A TRUE BILL



                                                     Foreperson .
